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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                        Case No. 1:97-CR-43-02
                Plaintiff,
                                                        HON. RICHARD ALAN ENSLEN
v.

ALEX CRUZ,

            Defendant.                                  ORDER
______________________________/

        Defendant brings this Motion pursuant to Federal Rule of Civil Procedure 60(b)(6) and

requests relief from this Court’s Order denying Defendant’s Motion for Federal Jurisdiction. (See

Def.’s Mot. at 2, n.1; see also Dkt. Nos. 246 & 250.)1

        Upon review, Defendant has not shown any basis for relief under Rule 60(b)(6). While

subsection (b)(6) permits a district court to set aside an order for “any other reasons justifying relief

. . . ,” it applies only in “exceptional or extraordinary circumstances which are not addressed in the

first five numbered sections of the rule.” Olle v. Henry & Wright Corp., 910 F.2d 357, 365 (6th Cir.

1990); Hopper v. Euclid Manor Nursing Home, Inc., 867 F.2d 291, 294 (6th Cir. 1989). Relief

pursuant to the rule is a discretionary matter as to which the district court is given broad equitable

powers. Olle, 910 F.2d at 365. Defendant has failed to show “exceptional circumstances”

warranting relief under Rule 60(b)(6). Id.; See also Jinks v. AlliedSignal, Inc., 250 F.3d 381, 387

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        Defendant appealed the Order to the Sixth Circuit Court of Appeals. Defendant was
denied a certificate of appealability by the Sixth Circuit and his appeal was dismissed. (See Dkt
Nos. 260 & 274.) Defendant then petitioned the Supreme Court of the United States for a writ of
certiorari regrading this issue. Defendant’s petition was denied, as well as his request for
rehearing. (See Dkt Nos. 282 & 283.)

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(6th Cir. 2001); Blue Diamond Coal. Co. v. Trustees of UMWA Combined Ben. Fund, 249 F.3d 519,

524 (6th Cir. 2001).

       Additionally, motions under subsection (6) may only be made within a “reasonable time,”

which the Sixth Circuit has “determined is dependent upon the facts in a case, including length and

circumstances of delay in filing, prejudice to opposing party by reason of the delay, and

circumstances warranting equitable relief.” In re: G.A.D., Inc., 340 F.3d 331, 334 (6th Cir. 2004)

(citing Olle, 910 F.2d at 365). In the instant case, the Court determines that this motion was not

made within a “reasonable time” because this Motion was made approximately seventeen months

after the Order and after Defendant appealed the Order to the Sixth Circuit and the United States

Supreme Court.

       THEREFORE, IT IS HEREBY ORDERED that Defendant Alex Cruz’s Motion Pursuant

to Rule 60(b) (Dkt. No. 284) is DENIED.

                                                     /s/ Richard Alan Enslen
DATED in Kalamazoo, MI:                              RICHARD ALAN ENSLEN
            June 3, 2005                             UNITED STATES DISTRICT JUDGE




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